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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION

 SA FIVE STAR CLEANERS, INC., §
                              §
                              §
     Plaintiff,               §
                              §
 v.                           §                       Civil Action No. 4:17-cv-00796
                              §
 SECURITY NATIONAL INSURANCE §
 COMPANY and KAYLYNN STEFFEN, §
                              §
                              §
     Defendants.              §

                                             ORDER

        Before the Court are Plaintiff SA Five Star Cleaners, Inc.’s Motion to Remand (ECF

No. 4), filed November 3, 2017; and Defendant Security National Insurance Company’s Response

(ECF No. 6), filed November 17, 2017. For the reasons stated below, the Court finds that Plaintiff’s

Motion to Remand should be and is hereby GRANTED.

I.      BACKGROUND

        The following facts are taken primarily from Plaintiff’s Original Petition. Orig. Pet., ECF

No. 1-3. Plaintiff SA Five Star Cleaners, Inc. (“Five Star”), a Texas resident, owns an insurance

policy (the “Policy”) for their commercial property (the “Property”) in Arlington, Texas. Orig. Pet.

¶¶ 1–2, ECF No. 1-3. Defendant Security National Insurance Company (“Security”), a foreign

corporation, issued the Policy to Five Star. Id. ¶ 2. On or about April 12, 2016, a storm damaged

the Property. Id. ¶ 9. Five Star timely submitted a claim to Security for the storm-related damages,

including roof damage and other exterior damage. Pl.’s Mot. Remand, ¶ 2, ECF No. 4. Security




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assigned Defendant Kaylynn Steffen (“Steffen”), a resident of Texas, to adjust the claim. Orig.

Pet. ¶¶ 3, 11, ECF No. 1-3.

         Five Star alleges that, on June 4, 2016, Steffen “conducted a substandard investigation and

inspection of the [P]roperty,” did not adequately report all of the damages observed during the

inspection, and undervalued the damages that were reported. Id. ¶ 11. Security denied the claim.

Id. ¶ 10. According to Five Star, Security denied coverage based upon Steffen’s substandard

inspections, estimates, and adjustments. Id. ¶ 12.

         On August 29, 2017, Five Star filed suit against Security and Steffen in the 141st Judicial

District of Tarrant County, Texas. Def.’s Resp. ¶ 4, ECF No. 6. Five Star brought claims against

Security for breach of contract, violations of the Texas Insurance Code, and breach of the duty of

good faith and fair dealing. Orig. Pet. ¶¶ 5–28, 35–36, ECF No. 1-3. Five Star asserted a claim

against Steffen for violation of the Texas Insurance Code. Id. ¶¶ 29–34.

         On October 4, 2017, Security timely removed this case to this Court, alleging that Steffen

was improperly joined for the purpose of defeating diversity jurisdiction. Not. Removal, ¶ 11, ECF

No. 1. Five Star now moves to remand this action to state court, arguing that Steffen was properly

joined. Mot. Remand ¶ 7, ECF No. 4.

II.      LEGAL STANDARD

         A.     Removal Jurisdiction

         28 U.S.C. § 1441(a) permits the removal of “any civil action brought in a [s]tate court of

which the district courts of the United States have original jurisdiction.” 28 U.S.C. § 1441(a). The

statute allows a defendant to “remove a state court action to federal court only if the action could

have originally been filed in federal court.” Anderson v. Am. Airlines, Inc., 2 F.3d 590, 593 (5th

Cir. 1993). However, the removal statute must be strictly construed because “removal jurisdiction



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raises significant federalism concerns.” Willy v. Coastal Corp., 855 F.2d 1160, 1164 (5th Cir.

1988); see also Gutierrez v. Flores, 543 F.3d 248, 251 (5th Cir. 2008). Thus, “any doubts

concerning removal must be resolved against removal and in favor of remanding the case back to

state court.” Cross v. Bankers Multiple Line Ins. Co., 810 F. Supp. 748, 750 (N.D. Tex. 1992)

(Means, J.). The party seeking removal bears the burden of establishing federal jurisdiction. Willy,

855 F.2d at 1164.

        There are two principal bases upon which a district court may exercise removal

jurisdiction: the existence of a federal question and complete diversity of citizenship among the

parties. See 28 U.S.C. §§ 1331, 1332. Here, the removing Defendant has alleged only diversity of

citizenship as a basis for this Court’s jurisdiction. See Not. Removal ¶ 8, ECF No. 1. Courts can

properly exercise jurisdiction on the basis of diversity of citizenship after removal only if: (1) the

parties are of completely diverse citizenship; and (2) none of the properly joined defendants is a

citizen of the state in which the case is brought.1 See 28 U.S.C. § 1441(b). If a non-diverse party

is present in the action, the court may lack jurisdiction based on improper joinder.

        B.      Improper Joinder

        The doctrine of improper joinder is a narrow exception to the requirement of complete

diversity and provides that a defendant may remove a case to a federal forum if the in-state

defendants were improperly joined. See Smallwood v. Ill. Cent. R. Co., 385 F.3d 568, 573 (5th Cir.

2004). “[A] non-diverse defendant has been improperly joined if the plaintiff has failed to state a

claim against that defendant on which relief may be granted.” Int’l Energy Ventures Mgmt., L.L.C.

v. United Energy Grp. Ltd., 818 F.3d 193, 202 (5th Cir. 2016). However, “if the plaintiff has stated

a claim against a non-diverse defendant on which relief may be granted, a federal court is without


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  Neither party disputes that the amount in controversy requirement of 28 U.S.C. § 1332(a) has been met
in this case.
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. . . diversity jurisdiction [ ] over that claim and, by extension, over any claims.” Id. To establish

that a non-diverse defendant has been improperly joined to defeat diversity jurisdiction, the

removing party must show “(1) actual fraud in the pleading of jurisdictional facts, or (2) inability

of the plaintiff to establish a cause of action against the non-diverse party in state court.” Int’l

Energy Ventures Mgmt., L.L.C., 818 F.3d at 205; Smallwood, 385 F.3d at 573 (quoting Travis v.

Irby, 326 F.3d 644, 646–47 (5th Cir. 2003)).

       At issue here is the second method of proving improper joinder, which requires a court to

find “no reasonable basis . . . to predict that the plaintiff might be able to recover against an in-

state defendant.” Smallwood, 385 F.3d at 573. To determine whether a reasonable basis exists, a

court must either “conduct a Rule 12(b)(6)-type analysis” or “in its discretion, pierce the pleadings

and conduct a summary inquiry.” Int’l Energy Ventures Mgmt., L.L.C., 818 F.3d at 206–07

(quoting Smallwood, 358 F.3d at 573). In doing so, a federal court must apply the federal pleading

standard. Id. at 202 (“[T]he improper-joinder analysis in the context of removal and remand is

solely about determining the federal court’s jurisdiction . . . . When determining the scope of its

own jurisdiction, a federal court does so without reference to state law, much less state law

governing pleadings.”). “Ordinarily, if a plaintiff can survive a Rule 12(b)(6) challenge, there is

no improper joinder.” Smallwood, 358 F.3d at 573.

III.   ANALYSIS

       Texas law recognizes suits against insurance adjusters in their individual capacities under

the Texas Insurance Code. TEX. INS. CODE § 541.002(2). The Texas Supreme Court has “held that

‘[t]he business of insurance includes the investigation and adjustment of claims and losses.’”

Roach v. Vehicle, No. 3:15-cv-3228-G, 2016 WL 795967, at *4 (N.D. Tex. Feb. 29, 2016) (Fish,

J.) (citing Centaurus Unity v. Lexington Ins. Co., 766 F. Supp. 2d 780, 787 (S.D. Tex. 2011); Vail



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v. Tex. Farm Bureau Mut. Ins. Co., 754 S.W.2d 129, 132 (Tex. 1998)). The Fifth Circuit has also

held that an adjuster who services insurance policies for an insurer engages in the business of

insurance, is subject to the Texas Insurance Code, and may be liable under it. Id. at *4 (citing

Gasch v. Hartford Indem. Co., 491 F.3d 278, 282 (5th Cir. 2007) (collecting cases holding that

individual adjusters are subject to the Texas Insurance Code)). Likewise, “the Texas Insurance

Code allows an insured to file a claim through its tie-in statute, for deceptive acts or practices listed

in Section 17.46(b) of the DTPA.” Id. at *4 (citing TEX. BUS. & COM. CODE § 17.46(b); TEX. INS.

CODE § 541.151(2)). The issue to be decided here is one in a long line of cases in which insured

plaintiffs join non-diverse insurance adjusters in a suit over underpaid insurance claims and the

insurance company removes to federal court alleging improper joinder of the non-diverse

adjusters. Federal district courts within Texas vary in how they handle the propriety of joining a

non-diverse adjuster. Some have found that, as a matter of law, an insurance adjuster cannot be

liable under the Texas Insurance Code provisions upon which plaintiffs most commonly rely. See

Ministerio Int’l Lirios Del Valle v. State Farm Lloyds, 3:16-cv-1212-D, 2016 WL 5791550, at *3

(N.D. Tex. Oct. 4, 2016) (Fitzwater, J.); Mainali Corp v. Covington Specialty Ins. Co., No. 3:15-

CV-1087-D, 2015 WL 5098047, at *4 (N.D. Tex. Aug. 31, 2015) (Fitzwater, J.); Together 6, LLC

v. Burlington Ins. Co., No. 4:15-CV-064-Y, 2015 WL 11120522, at *3 (N.D. Tex. Apr. 22, 2015)

(Means, J.); Messersmith v. Nationwide Ins. Co., 10 F. Supp. 3d 721, 724 (N.D. Tex. 2014) (Solis,

J.). Others have held that insurance adjusters can potentially be held liable under the Texas

Insurance Code, even when acting as the insurance company’s agent, and conduct a 12(b)(6)

analysis of those claims. Roach, 2016 WL 795967, at *4; Denley Group LLC v. Safeco Ins. Co.,

No. 3:15-CV-1183-B, 2015 WL 5836226, at *4 (N.D. Tex. Sept. 30, 2015) (Boyle, J.); Progressive




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Island, LLC v. Scottsdale Ins. Co., 3:13-cv-741-M, 2013 WL 6065414, at *3 (N.D. Tex. Nov. 18,

2013) (Lynn, J.).

       The divergence of the opinions within Texas district courts centers around the statutory

interpretation of Section 541.060(a)(2) of the Texas Insurance Code which provides that “failing

to attempt in good faith to effectuate a prompt, fair, and equitable settlement of [ ] a claim with

respect to which the insurer’s liability has become reasonably clear” is an “unfair or deceptive act

or practice in the business of insurance.” TEX. INS. CODE § 541.060(a)(2)(A). Those courts that

hold an adjuster can never be liable under this provision read Section 541.060(a)(2) to mean that

an adjuster can never be liable because he has no authority to settle the case, which belongs to the

insurance company, and the adjuster is only present to assess damages. See Messersmith, 10 F.

Supp. 3d at 724; Ministerio Int’l Lirios Del Valle, 2016 WL 5791550, at *3. On the other side of

the issue are those courts that read “effectuate” in the statute to apply to “all persons who play a

role” in bringing about a settlement, which necessarily includes an insurance adjuster. Denley

Group, LLC, 2015 WL 5836226, at *4; see Roach, 2016 WL 795967, at *5. Accordingly, these

courts hold that a plaintiff is able to plead a cause of action against an adjuster, and then analyze

the claims under Rule 12(b)(6).

       While the Court recognizes there is a legitimate split within this circuit regarding which

provisions of the Texas Insurance Code provide a cause of action against adjusters, it must be

remembered that doubt as to the liability of an insurance adjuster under the Texas Insurance Code

weighs in favor of remand. Int’l Energy Ventures Mgmt., L.L.C., 2016 WL 1274030, at *3; Roach,

2016 WL 795967, at *6 (“[I]n the context of a motion to remand, the split in authority regarding

the scope of an insurance adjuster’s liability under the Texas Insurance Code must be resolved in

favor of remand.”). Therefore, for purposes of this motion, an individual adjuster may be held



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liable under Section 541.060(a)(2), provided Five Star sufficiently pleaded facts to plausibly allege

such a claim. Roach, 2016 WL 795967, at *5 (collecting cases).

       The issue at hand is whether Five Star’s pleadings are sufficient to state a plausible claim

for violation of Section 541.060(a)(2) against Steffen. Here, Five Star alleges that Steffen “grossly

underestimated and undervalued” the true cost of repairing “damages to the structure, interior

architectural finishes, finish out, improvements and betterments, business income and other extra

expenses associated with damage caused by a wind/hail storm” and “conducted a substandard and

incomplete inspection of the Property” by neglecting to inspect all affected areas. Orig. Pet. ¶¶ 28,

31–32, ECF No. 1-3. According to Five Star, Steffen “conducted an outcome-oriented

investigation” that would minimize Five Star’s claim. Id. ¶ 32. Last, Five Star specifically alleges

that Steffen “failed to and/or refused to properly interview the Plaintiff to ascertain other damages

that were not readily apparent or would not be readily apparent to an individual unfamiliar with

the Property in its pre-Storm condition.” Id. ¶ 34.

       Security argues that Five Star “lump[ed] Defendants together” such that Five Star “failed

to meet its requirement of distinguishing allegations” between Steffen and Security. Def’s Resp. ¶

12, ECF No. 6 (citing Orig. Pet. ¶¶ 10–14, ECF No. 1-3). However, Five Star separated its claims

against Steffen into its own section “Actionable Conduct of Defendant (Kaylynn Steffen).” See

Orig. Pet. ¶¶ 29–34, ECF No. 1-3. Five Star listed several actions exclusive to Steffen such as

failing to inspect all affected areas and refusing to answer questions about other potential damages.

See id. ¶¶ 32, 34.

       Security also contends that Five Star only put forth legal conclusions instead of facts. See

Def’s Resp. ¶¶ 11–12, ECF No. 6 (citing Orig. Pet. ¶¶ 31–32, ECF No. 1-3). However, this is not

an instance where a plaintiff only provided statements that “consist of no more than broad



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conclusions and boilerplate allegations.” Cf. Singh & Singh LLC v. Berkley Assurance Co., No.

4:16-cv-00481-O, 2017 WL 3723770, at *3 (N.D. Tex. Feb. 13, 2017) (O’Connor, J.).

       This Court held in Singh that a plaintiff failed to meet the pleading standard required by

Rule 12(b)(6) when it only alleged general statements that follow the language of Section 541.060

“with no further specific facts to substantiate the[ ] claims.” Singh, 2017 WL 3723770, at *3. Here,

Five Star sufficiently pleaded facts to show a reasonable basis for recovery.

       Security argues that Five Star failed to establish a reasonable basis for recovery because

Five Star did not allege an “independent injury” against Steffen. Def’s Resp. ¶¶ 16–18, ECF No.

6. But Five Star separated their claims against Steffen and Security. Security relies on a Texas

Supreme Court case, Provident Am. Ins. Co. v. Castaneda, to argue that Five Star is required to

allege an injury independent of the denial of policy benefits. See 988 S.W.3d 189, 198–99 (Tex.

1998). The independent injury requirement in Castaneda relates only to the evidentiary stage of

litigation. Cardona v. ASI Lloyds, 3:14-cv-736-G, 2015 WL 93470, at *5 (N.D. Tex. Jan. 6, 2015)

(Fish, J.) see Castaneda, 988 S.W. at 199. Also, Security noted that Five Star repeatedly referred

to “Security” as “Allied” in its Petition. See Def.’s Resp. ¶ 11, ECF No. 6 (citing Orig. Pet. ¶¶ 16–

35, ECF No. 1-3). This mere mistake does not affect the Court’s conclusion. Security did not meet

its “heavy burden” of establishing improper joinder. See Denley Group, LLC, 2015 WL 5836226,

at *2 (citing Cuevas v. BAC Home Loans Servicing, LP, 648 F.3d 242, 249 (5th Cir. 2011)).

       Because Steffen is a Texas citizen for purposes of 28 U.S.C. § 1332, and the Court finds

that Five Star stated a claim for relief against Steffen under Texas Insurance Code § 541.060(a)(2),

complete diversity does not exist between all parties and the Court must remand this action. Int’l

Energy Ventures Mgmt., L.L.C., 818 F.3d 193, 209 (citing Exxon Mobil Corp. v. Allapattah Servs.,

Inc., 545 U.S. 546, 553 (2005)) (“The presence in the action of a single plaintiff from the same



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State as a single defendant deprives the district court of original diversity jurisdiction over the

entire action.”).

V.      CONCLUSION

        Based on the foregoing, Plaintiff’s Motion to Remand (ECF No. 4) is hereby GRANTED.

This case is REMANDED to the 141st Judicial District Court of Tarrant County, Texas. The

clerk shall mail a certified copy of this order to the district clerk of Tarrant County, Texas. 28

U.S.C. § 1447(c).

        SO ORDERED on this 1st day of March, 2018.




                                              _____________________________________
                                              Reed O’Connor
                                              UNITED STATES DISTRICT JUDGE




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